                                Case 22-13983-PDR                     Doc 11          Filed 05/22/22              Page 1 of 2
                                                              United States Bankruptcy Court
                                                               Southern District of Florida
In re:                                                                                                                 Case No. 22-13983-PDR
Annetta McCalla                                                                                                        Chapter 13
Curtis McNeal
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 113C-0                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: May 20, 2022                                               Form ID: CGFD99                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 22, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Annetta McCalla, Curtis McNeal, 1251 NW 51 Ave, Lauderhill, FL 33313-6542

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 22, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 20, 2022 at the address(es) listed below:
Name                               Email Address
Office of the US Trustee
                                   USTPRegion21.MM.ECF@usdoj.gov

Robin R Weiner
                                   ecf@ch13weiner.com ecf2@ch13weiner.com


TOTAL: 2
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Form CGFD99 (6/10/2019)

                                     United States Bankruptcy Court
                                                Southern District of Florida
                                                  www.flsb.uscourts.gov
                                                                                                  Case Number: 22−13983−PDR
                                                                                                  Chapter: 13
In re:
Annetta McCalla                                                     Curtis McNeal
1251 NW 51 Ave                                                      1251 NW 51 Ave
Lauderhill, FL 33313                                                Lauderhill, FL 33313
SSN: xxx−xx−1546                                                    SSN: xxx−xx−2479


                                       NOTICE OF PRO BONO RESOURCES
                                    AND PRO SE (SELF−REPRESENTED) CLINICS
    The following resources are available if you wish to retain an attorney and are interested in learning about qualifications for
receiving pro bono (free) or reduced fee legal representations.

           •   The Florida Bar Referral Service                        •   The Bankruptcy Bar Pro Bono Resource Locator
               www.floridabar.org                                          http://www.floridalawhelp.org

         • or the following non−profit organization(s) which provides free or reduced fee legal representation to qualified people
         in your area:

Dade Legal Aid/Put Something Back        Legal Aid Society of Palm Beach County     Florida Rural Legal Services, Inc.
123 N.W. First Avenue                    423 Fern Street, #200                      1321 E. Memorial Blvd.
Miami, Florida 33128                     West Palm Beach, FL 33401                  Lakeland, FL 33801
Telephone: (305) 579−5733                Telephone: (561) 655−8944                  Telephone: (863) 688−7376
Fax: (305) 372−7693                      Telephone: (800) 403−9353                  http://www.frls.org
http://www.dadelegalaid.org              Fax: (561) 655−5269                                or
http://www.dadecountyprobono.org         http://www.legalaidpbc.org                 121 N. 2nd Street, 4th Floor
                                                                                    Fort Pierce, FL 34950
                                                                                    Telephone: (772) 466−4766
                                                                                    http://www.frls.org

Legal Services of Greater Miami, Inc.    Legal Aid Service of Broward County, Inc. Coast to Coast Legal Aid of South Florida, Inc.
4343 W Flagler Street, Suite 100         491 N. State Road 7                       491 N. State Road 7, Second Floor
Miami, FL 33134                          Plantation, Florida 33317                 Plantation, Florida 33317
Telephone: (305) 576−0080                Telephone: (954) 765−8950                 Telephone: (954) 765−8955
http://legalservicesmiami.org            http://www.legalaid.org                   http://coasttocoastlegalaid.org
                                         Broward County residents only where       Broward County residents 60+ where filing will
                                         filing will save the home.                save the home.


   Assistance from these organizations may be based upon the availability of resources and/or your income. This
notice does not guarantee aid from or legal representation by them.
   Employees of the United States Bankruptcy Court are not permitted to recommend or refer you to an attorney nor are they
permitted to provide legal advice, including how to complete the bankruptcy forms or which forms may be required in your
bankruptcy case. Basic filing information is available on this Court's website at www.flsb.uscourts.gov.
    Clinics for self−represented debtors are conducted regularly. See the Court's website for the date and location of a
clinic near you.


Dated: 5/20/22                                                     FOR THE COURT:
                                                                   Joseph Falzone, Clerk of Court
                                                                   United States Bankruptcy Court
                                                                   Southern District of Florida
                                                                   C. Clyde Atkins U.S. Courthouse
                                                                   301 North Miami Avenue, Ste. 150
                                                                   Miami, Florida 33128
The clerk shall serve this notice on the Debtor(s).
